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                                                  THE HONORABLE RICHARD A. JONES
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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8

 9   ABDIQAFAR WAGAFE, et al., on                 No. 2:17-CV-00094-RAJ
10   behalf of themselves and others
     similarly situated,                       MINUTE ORDER GRANTING
11                                             PLAINTIFFS’ UNOPPOSED MOTION TO
                         Plaintiffs,           AMEND BRIEFING SCHEDULE FOR
12                                             CROSS-MOTIONS FOR SUMMARY
           v.                                  JUDGMENT
13

14
     DONALD TRUMP, President of the
     United States; et al.,
15
                         Defendants.
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17
           The clerk issues the following minute order by the authority of the Honorable
18
     Richard A. Jones, United States District Court Judge.
19
           This matter came before the Court on Plaintiffs’ Unopposed Motion to Amend
20
     Briefing Schedule for Cross-Motions for Summary Judgment. Upon reviewing the
21
     unopposed motion, and good cause appearing, it is hereby
22         ORDERED that Plaintiffs’ Motion (Dkt. # 449) is GRANTED. The filing
23   deadline for dispositive motions is reset to March 11, 2021, except that Defendants shall
24   be permitted to file a cross-motion for summary judgment on or before April 19, 2021.
25   Any other motions due to be filed by the deadline for dispositive motions under the Local
26   Rules shall be filed by the March 11, 2021 deadline and briefed on the schedule set forth


     MINUTE ORDER - 1
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 1   in the Local Rules. The following schedule will govern briefing of the cross-motions for
     summary judgment and supplemental declarations filed by the parties’ statistical experts
 2
     in response to the updated USCIS data:
 3

 4          - Supplement declaration of Mr. Kruskol—February 25, 2021

 5          (To the extent that any other Plaintiffs’ expert submits a supplemental declaration

 6   that relies upon Mr. Kruskol’s supplemental declaration, that declaration shall also be due

 7   on February 25, 2021.)

 8          - Plaintiffs’ motion for summary judgment—March 11, 2021

 9          - Supplement declaration of Dr. Siskin —April 5, 2021

10          - Defendants’ cross-motion and opposition—April 19, 2021

11          - Plaintiffs’ cross-opposition and reply—May 28, 2021

12          - Defendants’ cross-reply—June 18, 2021

13          - Cross-motions both to be noted for June 18, 2021

14
            DATED this 18th day of December, 2020.
15

16                                             WILLIAM M. McCOOL,
17                                             Clerk of the Court

18                                              /s/ Victoria Ericksen
                                               Deputy Clerk to Hon. Richard A. Jones
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     MINUTE ORDER - 2
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     IT IS SO ORDERED.
 3
              Dated this ____ day of ____________, 2020.
 4

 5                                             ______________________________________
 6                                       _
                                               The Honorable Richard A. Jones
 7                                             United States District Judge
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     [PROPOSED] ORDER
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 2      Presented by:
                                                 s/ Harry H. Schneider, Jr.
 3      s/ Jennifer Pasquarella                  s/ Nicholas P. Gellert
        s/ Michelle Cho                          s/ David A. Perez
 4      s/ Liga Chia                             s/ Heath L. Hyatt
        Jennifer Pasquarella (admitted pro hac   s/ Paige L. Whidbee
 5      vice)                                    Harry H. Schneider, Jr. #9404
        Michelle Cho (admitted pro hac vice)     Nicholas P. Gellert #18041
 6      Liga Chia (admitted pro hac vice)        David A. Perez #43959
        ACLU Foundation of Southern              Heath L. Hyatt #54141
 7      California                               Paige L. Whidbee #55072
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 8      Los Angeles, CA 90017                    1201 Third Avenue, Suite 4900
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 9      jpasquarella@aclusocal.org               Telephone: 206.359.8000
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10      lchia@aclusocal.org                      Ngellert@perkinscoie.com
                                                 Dperez@perkinscoie.com
11      s/ Matt Adams                            Hhyatt@perkinscoie.com
        Matt Adams #28287                        Pwhidbee@perkinscoie.com
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        615 Second Ave., Ste. 400                s/ Kristin Macleod-Ball
13      Seattle, WA 98122                        Kristin Macleod-Ball (admitted pro hac vice)
        Telephone: (206) 957-8611                American Immigration Council
14      matt@nwirp.org                           1318 Beacon Street, Suite 18
                                                 Brookline, MA 02446
15      s/ Stacy Tolchin                         Telephone: (857) 305-3600
        Stacy Tolchin (admitted pro hac vice)    kmacleod-ball@immcouncil.org
16      Law Offices of Stacy Tolchin
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17      Los Angeles, CA 90014                    John Midgley #6511
        Telephone: (213) 622-7450                ACLU of Washington
18      Stacy@tolchinimmigration.com             P.O. Box 2728
                                                 Seattle, WA 98111
19      s/ Hugh Handeyside                       Telephone: (206) 624-2184
        s/ Lee Gelernt                           jmidgley@aclu-wa.org
20      s/ Hina Shamsi
        s/ Charles Hogle                         s/ Sameer Ahmed
21      Hugh Handeyside #39792                   s/ Sabrineh Ardalan
        Lee Gelernt (admitted pro hac vice)      Sameer Ahmed (admitted pro hac vice)
22      Hina Shamsi (admitted pro hac vice)      Sabrineh Ardalan (admitted pro hac vice)
        Charles Hogle (admitted pro hac vice)    Harvard Immigration and Refugee
23      American Civil Liberties Union             Clinical Program
        Foundation                               Harvard Law School
24      125 Broad Street                         6 Everett Street; Suite 3105
        New York, NY 10004                       Cambridge, MA 02138
25      Telephone: (212) 549-2616                Telephone: (617) 495-0638
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26      lgelernt@aclu.org                        sardalan@law.harvard.edu
        hshamsi@aclu.org                         Counsel for Plaintiffs
        chogle@aclu.org


     [PROPOSED] ORDER
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     [PROPOSED] ORDER
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